Case 1:18-cr-00258-BLW Document 339 Filed 12/18/19 Page 1 of 2

 

(LS, Department of dustiee
United States Marshals Service

 
 
 
   

 

 

     

{LAIN COURT CASE NUMBER

 

DEBENDANT — TYPE OF PROCESS
Plotr Babichenko [Subpoena Ouces Tecum

 

 

SERVE J Amazon.com, Inc., Corporation Service Company

AT “ADDRESS Suveior B HED, sty tnent No. Cay, State and AAP Coa) ee

300 Deschutes Way SW, Sulta 304, Tumwater, WA 99501, Alta: Legal Department, - Legal Process”

SLND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Nunthey of process be ——

 

 

cscs Treen .t sour eesse esters sees with this Fern 2835 1
f Pu ie R: bois pov . a Lome
Number of patties tobe
fAi cay la we PA, seeved in this case |
Fo OF, tyre cr. re fo on a
nett Check for service
Le Bore xp 8370 - oi, onliS A No

 

   
  
 

ING SERMICE MHaetide Bavtuess und sdternate dresses,

U.S. COURTS
\ DEC 18 2019

Leen Revd Filed._._ Fime
STEPHEN W. KE ENYON
CLERK, » DISTE uCT OF IDAHO

Satine of oe supe aller ‘Originatut sequte sting neevkce ant lal, ar of (TeLAEN HEY We 4 t PHONE NU sine 7 DATE

Wye 2. fe “ee il aetenpanr — | 208-344-4152 1216812019

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW ‘THES LINE

SPECTAL INSTRUCTIONS OR OUTER INPORMATION HAL we *
cl Pelephane Neambers, aad Extintated Hines Available for Sersye eh i)
has 7

 

 

 

 

 

 

 

 

Tacknowledge teceipt for the tolal 1 Total Proves | Distict af District to Senature of Authutved USMS Depnty of Chenk Ditto

nutbed of process mudicated one serye ” é C
(Sige only for GSM OSS ifmare 4) lo (2-10-] /
thee cate USMS fs euduiitted) . . | No CD. NP eee Po fo nnncennnnnn a enctnnicnaene Ye ae

 

 

 

Pereby certify act eoturn that I EI hie persenally served CP have fepal evteace af seavice ek js ave excented as sive in “Remarks, die process deserted
onthe indwitual , company, cofporation, ely a) die address shown abuve on (iy an tke individual, company, corporatian, efe shaw at the address inserted below

td Thereby ceatity nnd return that Fane unable to locate the utivadual, cnenpony, carporiion, ele. uued abuve See reatarks befow)

 

 

 

Name aud vile of individieal served faf not shown above) t | A person of sutable ay und discretion

, oo then residing is defendant's usual pkece
- CH arbi JOS OS Cc USFOpor. Serco Ass. SCP ; of wba ° " . o
Add t \

complete enity igor than shan 4” ahve)

oO. ane

YQ-WA-G_L INS] ebm

Signatue of GS Marshal or Deputy

Date ‘Tite

 

 

 

Advance Dipaovils Atmuntewed ttl S: Mahal? a a
(Amount of Refenid

Seeving Pee Total Mileage Charges) Forwarding Dee Voth Chatpes
[2 msluding endeavers)

pe ela. %.CO Tela)

es Slane we  tcennrensemempymm mn aie fi mca ae

lah | 19 Aw ~ | Busi , CoH ry er ; Shy

1 CLERK GF THe c ‘Out PRIQR HEOEFIONS MAYBE USE ie
2, USMS RECORD

J NOTICE OF SERVICE
4. BILLING S PATEMEEN |) Pedbe returned to the OS) Marshal with paynient,

iPeny dimou is awed Pease remit proinplly payable wd kS Murshat
3. ACOA TIDGMEN POE RECEBEE

 

  

 

Form VSME3BS
Rev [2/ts80
Attoinated O10)

 
Case 1:18-cr-00258-BLW Document 339 Filed 12/18/19 Page 2 of 2

{ef S-Ce - p0ask - Bei

 

PROOF OF SERVICE

 

RECEIVED BY | BATE
SERVER 1D- [lor (QA

HACE
CLERK'S OFFICE, U.S, DISTRICT COURT, BOISE, IDAHO,

 

 

 

 

SERVED BY PRINT NAMBI

 

SERVED bate PLACE .
\A=17- 4 Boo Ae Vhules pum Su Sue Zo turbo
SERVED ON (PRINT NAME} FEES AND MELGAGE TENDERED TO WHNESS , a
Lv) *
Cun a ) Ones b YES oNQ Amount: §
4 \ * r we
CUS \uyyep se hWACo ASS,
TUTE

use

 

Ena OER

DECLARATION OF SERVER

 

Executed on: | o- \y: 4

Dat

 

I dectire under penalty of perjury under the laws of the United States of America that the foregoing
information contained in the Proof of Service is true asd correct.

porn. (ot Soha

1 Shaan af Server

vn Peciic Ave. Su lO WIO

Address of Server

“TACO An 1s wr, QLHO2.

 

AUDTHONAL INFORMATION

lar OF 144 |

 

| Toueny } GH pi RO / hS AS

 

 

 
